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                                IN THE U.S. DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


  Jacqueline Huskey and Riian Wynn, on                 Case No.: 22-cv-7014
  behalf of themselves and all others
  similarly situated,                                  FIRST AMENDED CLASS
                                                       ACTION COMPLAINT
            Plaintiffs,
                                                       Jury Trial Requested
            v.

  State Farm Fire & Casualty Company,
            Defendant.




                                 CLASS ACTION COMPLAINT

       1.        This is a class action brought by Jacqueline Huskey and Riian Wynn (“Plaintiffs”),

on behalf of themselves and similarly situated homeowners insurance policyholders,1 against State

Farm Fire & Casualty Company (“Defendant” or “State Farm”) under the Fair Housing Act

(“FHA”), 42 U.S.C. § 3601 et seq. Plaintiffs seek remedies for themselves and the class for the

discriminatory effects of State Farm’s homeowners insurance claim processing policy. Plaintiffs

allege and aver as follows:

       2.        State Farm is the largest provider of homeowners insurance in the United States.

As a homeowners insurance provider, it is legally obligated to provide coverage to and address the

claims of its policyholders in a non-discriminatory manner.


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         For the purposes of this Complaint, the term “home” includes single-family detached
houses; single-family attached houses; condominiums or cooperatives; mobile or manufactured
homes; and any other type of dwelling that is covered by an HO-01, HO-02, HO-03, HO-05, HO-
06, HO-07, or HO-08 homeowners insurance policy. The term “homeowners insurance
policyholders” contemplates persons with insurance policies designed to cover losses and damages
to a dwelling when used principally as a personal private residence, and not solely for rental or
other commercial purposes.
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        3.      While there have been many previous accounts of discrimination in the insurance

industry, this Complaint provides concrete data showing that claims submitted to State Farm by

Black homeowners are systematically subjected to greater scrutiny, causing significant financial

and dignitary harm.

        4.      This discrimination is the result of a specific policy: State Farm’s decision to

employ an automated system—in lieu of human judgment—to determine how the high-volume of

homeowners insurance claims it receives should be processed by its claims handlers. Specifically,

State Farm uses machine-learning algorithms and artificial-intelligence tools (collectively

“algorithmic decision-making tools”) to screen out potentially fraudulent or complex (“high

touch”) claims from legitimate or straightforward (“low touch” or “no touch”) claims. “High

touch” claims are processed much more slowly than “low touch” or “no touch” claims. On

information and belief, algorithmic decision-making tools drive claims handler workflow at State

Farm by predicting whether a given claim might be fraudulent, deciding how much scrutiny it thus

requires, and directing employee tasks in accordance with that assessment.

        5.      All homeowners insurance claims at State Farm have been uniformly subject to this

policy during the Class Period, including those of Plaintiffs and the proposed Class. It is thus

reasonable to attribute a systematic difference in the rate of claims subjected to heightened scrutiny

to State Farm’s policy of using algorithmic decision-making tools to screen and address all

policyholder claims. This causal connection is unsurprising: Algorithmic decision-making tools

have been known to cause bias in financial products generally and within home products

specifically.

        6.      State Farm’s automated system—for a variety of reasons that State Farm should

know about and could easily prevent—is much more likely to flag claims from Black homeowners



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for greater scrutiny than claims of white homeowners. Because their claims are more likely to be

flagged for scrutiny, Black homeowners are disproportionately more likely to have to submit more

claims documentation, to have to interact more with State Farm employees, and to experience

substantial delays in payment for their claims. As a result, Black homeowners experience greater

inconvenience, loss to the value of their homes, and negative impacts on their quality of life as

necessary repairs remain unaddressed for months on end. These delays mean that Black State

Farm policyholders receive a less valuable product than white State Farm policyholders. And had

Black policyholders known that they would be treated differently and ultimately worse by State

Farm than their white counterparts, they either would not have purchased a policy from State Farm

or would not have purchased a policy for the price that they paid.

        7.      The delays and extra administrative hurdles that Black homeowners have

experienced and are experiencing because of State Farm’s discriminatory claims processing policy

cause tangible financial harm, and are unreasonable, vexatious, and humiliating. Accordingly,

Plaintiffs seek damages as well as declaratory and injunctive relief.

I.      JURISDICTION AND VENUE

        8.      This Court has jurisdiction over Plaintiffs’ FHA claims under 28 U.S.C. § 1331 and

42 U.S.C. § 3613(a).

        9.      The Court has general personal jurisdiction over State Farm because it is domiciled

in Illinois.

        10.     Venue is proper in this judicial district under 28 U.S.C. § 1391(b), because a

substantial part of the events or omissions giving rise to the claim occurred in this judicial district,

State Farm regularly conducts business in this District, and the named Plaintiffs reside in this

District.



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II.     PARTIES

        11.    Jacqueline Huskey (“Huskey”) is a Black resident of Matteson, Illinois, where she

owns a single-family manufactured home. Huskey had a homeowners insurance policy with State

Farm on her home in Matteson between approximately March 2021 and February 2023. She paid

approximately $700 annually to maintain coverage on her home. On June 12, 2021, the roof of

Huskey’s home was damaged by hail. She promptly filed a homeowners insurance claim with

State Farm. This was her first time ever filing such a claim with State Farm. Huskey did not hear

back from State Farm with respect to her claim until more than a month after filing, on July 22,

2021. On August 11, 2021, State Farm sent an adjuster to inspect the damage, but the adjuster

declined to conduct an inspection of the outside of the roof and only provided an estimate for the

damage to the inside of the home. Huskey had to call State Farm representatives several times

before the company ultimately agreed to send a third-party adjuster to inspect the outside of the

roof. Nearly four months after Huskey filed her claim, State Farm granted it, but only for the cost

of internal repairs. Huskey still has not reached a resolution with State Farm as to the damage to

the outside of her roof and has been unable to repair it. As a result of State Farm’s delay, Huskey

experienced further damage to her home—water damage to her kitchen and to two bathrooms

caused by leaks in the unrepaired roof—and a decrease to her home’s overall value. She estimates

that she has had 20 to 30 conversations with State Farm regarding this claim, including as recently

as May 2022.

        12.    Riian Wynn (“Wynn”) is a Black resident of Evanston, Illinois, where she owns a

two-story townhome that is attached to three similar townhomes. Wynn has had a homeowners

insurance policy with State Farm on her townhome in Evanston since she purchased the home in

2015. She currently pays an annual premium of $857 to maintain coverage on her home. In the



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early morning hours of March 6, 2022, a severe storm blew the roof membrane off all four

townhomes, including Wynn’s. The damage to the townhomes was so severe that it made the local

news. Consequently, water from the storm leaked into Wynn’s home, causing damage to the

interior of her home. One of Wynn’s adjoining neighbors, who is white and also has a State Farm

policy, suffered similar damage to her townhome. Wynn and her neighbor both filed claims with

State Farm on March 6 for the same property damage issues. This was Wynn’s first time ever

filing a homeowners claim with State Farm. Wynn’s claim received significantly more scrutiny

by State Farm than her neighbor’s claim did. That scrutiny manifested in demands for additional

documentation and estimates not required of her neighbor, additional inspections not required of

her neighbor, and dozens more interactions with State Farm employees than her neighbor was

required to have. In the end, Wynn’s claim for similar interior damage and water mitigation from

the same storm in a connected townhouse took approximately three months longer to process than

her white neighbor’s claim did. During that time, Wynn’s home experienced further damage, she

lost use of her home, and her compensation was delayed. And ultimately, State Farm refused to

cover repairs and mitigation for Wynn to the same extent that it did her neighbor. All told, Wynn’s

claim took over eight months to resolve; she estimates that she had to interact with State Farm

employees at least 50 times during the claims process to get her claim approved.

       13.     Defendant State Farm Fire & Casualty Company is an Illinois corporation with its

principal office in Bloomington, Illinois. It sells homeowners insurance policies in many states

across the country, including Illinois, Indiana, Michigan, Missouri, Ohio, and Wisconsin. It issued

homeowners insurance policies to Huskey and Wynn and sustained those policies during the

statute of limitations period. It is a subsidiary of State Farm Mutual Automobile Insurance

Company, a large insurance company that sells homeowners insurance policies across the country.



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In 2021, State Farm’s total revenue was more than $82 billion. It is the largest provider of

homeowners insurance in Illinois, Indiana, Michigan, Missouri, and Ohio, and the second largest

in Wisconsin. By recent estimates, State Farm has approximately 53,000 employees, 19,000

independent agents, and 87 million customer accounts. It handles approximately 24,000 claims

each day.

III.     FACTS

         A.    Black Homeowners Suffer a Disparate Impact When Submitting a Claim to
               State Farm
         14.   In 2021, YouGov—a reputable online polling provider that employs industry best

practices and an internal quality assurance process—surveyed about 800 white or Black

homeowners with State Farm homeowners insurance policies across the Midwest2 to assess

whether there were racial disparities in State Farm’s homeowners insurance claim submission and

adjudication process. Among other data points, the survey collected information on where the

homeowners were located; how long their claims process took; whether they were asked to submit

additional paperwork after making a claim; how many interactions with a claims handler were

required to resolve the claim; and the ultimate outcome of their claim submission.

         15.   The survey of 648 white State Farm policyholders and 151 Black State Farm

policyholders showed large and statistically significant racial disparities between Black and white

homeowners regarding 1) the time it took for claims to be paid out by State Farm; 2) the

supplemental paperwork required as part of the claim adjudication process; and 3) the number of

interactions claimants had with State Farm employees prior to having their claims paid out.




        The survey defined the “Midwest” as Illinois, Indiana, Michigan, Missouri, Ohio, and
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Wisconsin.
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       16.     The survey revealed that thirty-nine percent of white State Farm policyholder

respondents had their claim paid out in one month or less from time of submission; by contrast,

only 30% of Black homeowner respondents were paid out at the same rate. That means white

homeowners were almost a third more likely than Black homeowners to have their claim

processed expeditiously (in less than a month). This racial disparity is statistically significant;

it would occur less than 5% of the time as a result of random chance.

       17.     The survey results also showed a disparity in the administrative burdens imposed

on white and Black homeowners in the Midwest. Only 46% of white State Farm policyholder

respondents were asked to procure additional materials beyond those required to initiate the claims

submission process. By contrast, 64% of Black State Farm policyholder respondents were asked

to gather such materials. Thus, Black policyholders were 39% more likely to have to submit

extra paperwork to justify their claims. Again, this racial disparity is statistically significant; it

would occur less than 1% of the time as a result of random chance.

       18.     The survey also identified a statistically significant disparity by race for how many

interactions with State Farm employees were required of homeowners while their claim was being

processed. Some 51% of white policyholder respondents resolved their claims after only one-to-

three interactions with State Farm employees, contrasted with only 42% of Black respondents.

Only 49% of white respondents reported needing three or more interactions with someone at State

Farm to resolve their claim, contrasted with 58% of Black respondents—meaning that Black

policyholders were about 20% more likely than white policyholders to require three or more

interactions with State Farm before claim resolution. This racial disparity would occur less

than 10% of the time as a result of random chance.




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         19.   Thus, Black State Farm policyholders disproportionately experience administrative

burdens. They must put in more work and have more conversations, all while under greater

suspicion, just to get the same pay out as their white neighbors. And these results represent only

a portion of the true harm. It is reasonable to assume that some Black policyholders simply give

up on pursuing their claims due to the frustration of these added burdens.

         20.   On information and belief, this race-based disparate impact is caused by State

Farm’s discriminatory claims processing policy, which disproportionately subjects claims filed by

Black homeowners to greater scrutiny than those filed by white homeowners, as described further

below.

         B.    Modern Race Discrimination and Algorithmic Bias

         21.   Homeowners insurance is a prerequisite to home ownership, with banks and

mortgage companies generally requiring borrowers to acquire coverage as a precondition for

financing. It is also the vehicle by which homeowners protect the sizeable financial investment

they undertook when purchasing their home: If disaster strikes, a homeowner can rest easy

knowing that their policy will cover necessary repairs such that they will still have a place to live

and that their home’s value will be preserved. In tandem, purchasing property and protecting it

with insurance can, over time, facilitate upward financial mobility and create generational wealth.

         22.   Though home ownership is a critical vehicle for building wealth in the United

States, it has long been a lopsided one: In 2020, 73.7% of white families owned homes, compared

to only 44% of Black families. This gap, driven by a host of factors, is exacerbated by existing

administrative barriers that can be both humiliating and financially onerous. Indeed, in 2021,

economists at Freddie Mac found that 12.5% of homes in majority Black areas were appraised

below the price agreed upon by the buyer and seller, compared to just 7.4% of homes in majority-

white areas. In recent years, researchers have also determined that, relative to their home value,
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Black homeowners pay higher mortgage rates at origination and post-origination of the loan, spend

more on mortgage insurance, face a higher share of maintenance costs, and pay more in property

taxes than white homeowners, resulting in a higher homeownership cost burden. These higher

costs leave Black homeowners more reliant on their homeowners insurance policies than white

homeowners when property damage occurs.

       23.     In the insurance industry, as elsewhere in our society, racial discrimination has

shifted from overt to covert. Even though race-based redlining is now illegal, discrimination has

persisted through practices such as using credit-based insurance scores, and discriminatory

underwriting guidelines that use age and home value as a proxy for race. Inequitable practices

such as these make it more difficult for Black homeowners to build wealth through homeownership

at the same rate as white homeowners.

       24.     Today, discrimination is perpetuated by the modern trend toward automation and

data mining. Institutions like insurance companies use algorithmic models to quickly analyze vast

troves of publicly available information (“data mining”) to detect patterns and assist in making

future decisions (“data analytics”). So-called “machine-learning” algorithms are designed to learn

based upon the algorithm’s access to a designated data set or an algorithm-driven search for data

residing on the internet or in a confined database.

       25.     Unfortunately, algorithms too often have discriminatory effects, even where

demographic data such as race are not included as inputs. This is because algorithms can “learn”

to use omitted demographic features by combining other inputs that are correlated with race (or

another protected classification), like zip code, college attended, and membership in certain

groups. To illustrate, Amazon famously abandoned a facially neutral hiring algorithm in 2017

because of its disparate impact on female candidates. There, the training data presented to the



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algorithm consisted of resumes submitted to Amazon by applicants over a 10-year period, without

presenting data to the algorithm explicitly indicating the applicants’ gender. But most of these

applicants were white males. Rather than sort candidates by qualifications or merit, the algorithm

learned to favor male candidates by prioritizing language more commonly used by males,

penalizing the word “women’s” in resumes, and devaluing candidates who had graduated from all-

women’s colleges.

       26.     Algorithmic decision-making and data analytics are not, and should not be assumed

to be, race neutral or gender neutral. Too often, they reinforce and even exacerbate historical and

existing discrimination. For example, in 2019, a bombshell study found that a clinical algorithm

that many hospitals were using to determine which patients need care was biased: Black patients

assigned the same level of risk—and thus allocated the same health care resources—were much

sicker than white patients. This happened because the algorithm had been trained on historical

health care spending data, which reflects a history in which Black patients had less money to spend

on their health care than white patients. From this, the algorithm falsely concluded that Black

patients were healthier than equally sick white patients.

       27.     Academics and government actors alike have cautioned that when approached

without appropriate forethought and oversight, data analytics “can reproduce existing patterns of

discrimination, inherit the prejudice of prior decision makers, or simply reflect the widespread

biases that persist in society. It can even have the perverse result of exacerbating existing

inequalities by suggesting that historically disadvantaged groups actually deserve less favorable

treatment.” Indeed, according to Federal Trade Center (“FTC”) Commissioner Kelly Slaughter,

“[i]n recent years, algorithmic decision-making has produced biased, discriminatory, and

otherwise problematic outcomes in some of the most important areas of the American



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economy. . . . These harms are often felt most acutely by historically disadvantaged populations,

especially Black Americans and other communities of color.”

       28.     The susceptibility of data analytics and algorithmic decision-making to bias is

becoming a hot button topic in the insurance industry today. For example, in 2022, the California

Department of Insurance released the bulletin Allegations of Racial Bias and Unfair

Discrimination in Marketing, Rating, Underwriting, and Claims Practices by the Insurance

Industry, which declared that:

       technology and algorithmic data are susceptible to misuse that results in bias, unfair
       discrimination, or other unconscionable impacts among similarly-situated
       consumers. A growing concern is the use of purportedly neutral individual
       characteristics as a proxy for prohibited characteristics that result in racial bias,
       unfair discrimination or disparate impact. The greater use by the insurance
       industry of artificial intelligence, algorithms, and other data collection models
       have resulted in an increase in consumer complaints relating to unfair
       discrimination in California and elsewhere. . . .

       Irresponsible use of “Big Data” also has the potential to reduce transparency for
       consumers. Many external data sources used by insurers and other licensees utilize
       geographical data, homeownership data, credit information, education level, civil
       judgments, and court records, which have a strong potential disguise bias and
       discrimination. Other models and algorithms purport to make predictions about a
       consumer’s risk of loss based on arbitrary factors such as a consumer’s retail
       purchase history, social media, internet use, geographic location tracking, the
       condition or type of an applicant’s electronic devices, or based on how the
       consumer appears in a photograph.

       The use of these models and data often lack a sufficient actuarial nexus to the
       risk of loss and have the potential to have an unfairly discriminatory impact
       on consumers. [emphases added]

       29.     And as recently as 2023, the National Association of Insurance Commissioners’

(“NAIC”) Special Committee on Race and Insurance affirmed its intent to research and analyze

disparate treatment and unfair discrimination in property and casualty insurance by looking at,

among other things, proxy variables for race, potential bias in underlying data, and use of third-

party data.

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       30.     As described in more detail below, State Farm’s policy of delegating to its

algorithmic decision-making tools the initial review of claims disproportionately subjects the

claims of Black policyholders to greater suspicion—and thereby greater administrative process

and delay. In this way, State Farm is reproducing and exacerbating existing patterns of race

discrimination.

       C.      State Farm’s Policy: Outsource Decisions on Claims Processing to Algorithmic
               Decision-Making Tools

       31.     The claims processing aspect of the insurance industry is notoriously opaque, with

little oversight or regulation geared toward increasing transparency for consumers and regulators

alike. Insurance companies such as State Farm do not typically publish their claims processing

guidelines, their claims processing algorithms, their claims outcomes, or other related data. What

the industry readily confirms, however, are the basics of the traditional, if outdated, home

insurance claim process: A homeowner who has suffered a loss submits a claim; the insurance

company assigns an adjuster to assess the loss and apply the wording of the homeowner’s policy

to the adjuster’s interpretation of the facts of the case. The adjuster can choose whether to request

more information, go to the scene, request other evaluations, or meet with witnesses.

       32.     In recent years, however, State Farm made the decision to automate claims

processing, or major aspects of it, and thereby replace human judgment with algorithms. Many

claims are now handled without conversations with the homeowner or follow-up investigation.

State Farm instead delegates to its algorithmic decision-making tools the initial assessment of the

homeowners insurance claims it receives. These tools are designed to, among other things, predict

the likelihood of fraud and to sort “no touch” or “low touch” claims (which are paid out

immediately or near immediately) from “high touch” claims (which trigger additional scrutiny).




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State Farm has delegated initial claims assessment to these tools for the duration of the Class

Period.

          33.   State Farm mostly keeps the nature of its claims processing policy confidential from

Plaintiffs and the proposed Class, asserting that disclosing details publicly would undermine anti-

fraud efforts. But those few disclosures that have been made—by State Farm and its third-party

vendors—reveal that State Farm harnesses a variety of tools to collect extensive data about

policyholders and uses that data in claims processing and fraud detection. Indeed, State Farm

increasingly fancies itself a tech company and a “leader within the AI [(artificial intelligence)]

space,” with an in-house staff of approximately 1800 software engineers. The company describes

itself as at the “cutting edge of analytics” and actively recruits and hires employees with a

background in data analytics, to “turn data into actionable insights by leveraging a combination of

Natural Language Processing, Machine Learning, Artificial Intelligence, or other data science

tools and concepts.”

          34.   The nature and quantity of personal consumer information that State Farm

cultivates is staggering. According to its website, State Farm collects data and information on its

policyholders including: classifications such as race, sex, marital status, familial status, and

gender; physical characteristics and/or descriptions; education, employment, employment history,

professional licenses or designations; financial information, medical information or health

insurance information; personal property records, products or services purchased, obtained, or

considered, or other purchasing or consuming histories or tendencies; biometric information such

as genetic, physiological, behavioral and biological characteristics that can be used to establish

individual identity, including but not limited to fingerprints, voiceprints, retina scans, and sleep,

health or exercise data; internet usage information such as browsing history, search history, and



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information regarding customers’ interaction with a website, application, or advertisement;

geolocation data such as precise physical location or movements and travel patterns; and sensory

data such as audio recordings of customer care calls.

       35.     State Farm uses this data in a variety of ways, including “creating a profile about a

consumer reflecting the consumer’s preferences, characteristics, psychological trends,

predispositions, behavior, attitudes, intelligence, abilities and aptitudes,” and for a variety of

purposes, including processing claims and “protect[ing] against fraud.”

       36.     State Farm also uses a combination of internal and third-party tools to leverage the

vast troves of data it collects to process homeowners insurance claims.            Data regarding

policyholders and their claims are stored, managed, and accessed primarily through State Farm’s

Enterprise Claim System (“ECS”), a proprietary web-based system used by State Farm claims

associates. ECS operates as an electronic file where information about a claim may be found and

updated in real time. In addition to providing a web-based interface for the entry and storage of

claim data, State Farm executes automated processes based on code and data relationships. As an

example, State Farm has disclosed that it licenses a third-party vendor’s proprietary system,

Technology Analytics for Claims (“TAC”), which uses text-based queries of claims data from ECS

to help detect and identify claims that might be fraudulent.

       37.     In fact, State Farm has maintained relationships with multiple third-party vendors

that offer software, integrations, and applications focused on insurance claims automation. Two

such vendors have been Salesforce, a customer relationship management software company,3 and

Duck Creek Technologies, an insurance-specific software and analytics company that provides



       3
         Salesforce defines customer relationship management software (also known as “CRM”)
as “a technology for managing all your company’s relationships and interactions with customers
and potential customers.”
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comprehensive claims management and fraud-detection tools. Since at least 2018, State Farm has

used Salesforce’s Financial Services Cloud to give agents and employees “a holistic view” of

customers. In 2019, State Farm’s Chief Digital Officer Fawad Ahmad expressly confirmed that

State Farm’s homeowners insurance claims “flow[] through Salesforce.” Salesforce’s platform

purports to increase efficiency by offering (1) predefined templates and step-by-step guidance for

managing common service requests like the initiation of a claim; (2) automating customer-facing

employee tasks; and (3) offering insurance-specific predictive analytics. Duck Creek identified

State Farm as one of its largest FY 2019 customers in 2020 and 2021 SEC filings. Duck Creek

provides a “comprehensive claims management solution” with “end-to-end claims workflows that

enable high-touch to no-touch claim handling” called Duck Creek Claims. In practice, this means

that Duck Creek Claims uses predictive modeling or rules-based decision making to determine

how a claim should be treated (e.g., whether a claim, by type, is high touch, low touch, or no touch)

and then structures workflow accordingly.         Duck Creek integrates with Salesforce.          Per

Salesforce’s website, “[t]ogether, Duck Creek and Salesforce deliver a comprehensive [property

and casualty] servicing platform.”

       38.     On information and belief, throughout the Class Period, State Farm has used

Salesforce’s Financial Services Cloud, Duck Creek Claims, and/or other similar internal and

external algorithmic decision-making tools to process its homeowners insurance claims,

delegating to these tools the initial review of claims, the determination of claim scrutiny level, and

assignment of tasks to claims handlers. State Farm’s use of such tools cabins the discretion of its

employees—by automating communications and assigning tasks—and invariably informs the

mindset with which State Farm employees treat claimants. A claim flagged for heightened scrutiny

is treated with more suspicion and less courtesy by an employee.



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       39.     All homeowners claims that State Farm receives have been uniformly subject to

processing via the above-described algorithmic decision-making tools during the Class Period,

including the claims of Plaintiffs and the proposed Class.

       40.     Because State Farm’s automated system determines how much scrutiny all

homeowners claims deserve and thus how they should be processed, and because the adverse

impact is systemic for Black homeowners as demonstrated by the survey data, State Farm’s policy

of delegating the initial assessment of claims to its algorithmic decision-making tools is the only

plausible cause of the disparate impact experienced by Black claimants. This is not surprising, as

similar algorithmic decision-making has been found to lead to discriminatory outcomes in

financial products generally and within home products specifically.

       41.     On information and belief, the State Farm’s algorithmic decision-making tools

incorporate biased historical data and troves of invasive personal consumer data, which leads to

disproportionate and unjustifiably high scrutiny for Black claimants who, in turn, face additional

administrative burdens and delay in resolution of their meritorious claims.

       42.     A wealth of literature discusses the potential for bias resulting from algorithmic

decision-making. As the FTC has acknowledged, algorithmic bias is everywhere. Mounting

evidence reveals that algorithmic decisions can produce biased, discriminatory, and unfair

outcomes in a variety of high-stakes economic spheres including employment, credit, health care,

and housing. In the housing context in particular, tools infected with bias are integrated into home

financing, leasing, marketing, sales, and zoning decisions. For example, a 2021 report analyzing

more than 2 million conventional mortgage applications found that lenders who processed

applicants through Fannie Mae and Freddie Mac’s FICO algorithms were 80% more likely to reject

Black applicants than financially equivalent white applicants.



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       43.     Antifraud algorithmic decision-making tools are particularly susceptible to racial

bias. As the Center for Economic Justice (“CEJ”) adeptly explained to the NAIC: “Biased

antifraud algorithms become self-[fulfilling]—if there is racial bias in the claims you identify as

potential[ly] fraudulent and investigate, there will be racial bias in the claims identified as

fraudulent. You can’t find fraud in a claim you don’t investigate.” Thus, where biased claims

processing algorithms subject Black claimants to greater scrutiny, more fraud will be found among

Black claimants, resulting in continuing and increasing scrutiny of Black claimants.

       44.     In a May 2021 letter to the NAIC Special Committee on Race and Insurance, the

CEJ noted that “no attention has been given to potential racial bias in claims settlement and anti-

fraud, despite the fact that these parts of the insurance operation utilize big data and AI as much

or more than [they do] for pricing.”

       45.     Any reasonable effort to examine State Farm’s claims processing policy for

disparate impact would have detected the statistically significant racial discrepancies described

above. This is particularly true because State Farm has access to all of the relevant data via its

ECS and can tell with precision how race affects its algorithms’ outputs. Thus, State Farm either

does not review its use of algorithmic decision-making tools for disparate impact in claims

processing, or having reviewed it, has refused to choose a less discriminatory policy.

       46.     State Farm has acknowledged the risk of bias in its machine learning processes, but

only in the underwriting context: In its application for U.S. Patent No. 11,315,191 (issued April

26, 2022), State Farm states that machine learning models could be trained to include bias if bias

is present in the data sets used for training. The patent proposes identifying “undesired factors” to

control for “undesired prejudice or discrimination,” by teaching the machine learning to not

consider those factors in setting a premium amount. No publicly available information indicates



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that State Farm has taught its technology to limit discriminatory outcomes in homeowners

insurance claims processing. And the survey results discussed above demonstrate that the State

Farm has not done so.

       47.     Further, a tacit acknowledgment of the potential for bias in some of its data only

scratches the surface of alleged and actual discriminatory conduct and circumstances at State Farm.

There is ongoing litigation in Michigan alleging that State Farm had a “rampant culture of racism

and discrimination” and a hostile work environment where terms like “Colored People Can't

Understand” and “mutt” were used to describe Black employees, while white employees were

often promoted “over [] objectively and clearly more qualified African American candidate[s].”

In the Northern District of Illinois, State Farm is also facing class claims that it violated 42 U.S.C.

§ 1981 by disproportionately “race matching” Black home and automobile agents to areas with

high Black and nonwhite populations and low-income communities (thereby inhibiting agents’

opportunities to bring in clients and advance in their careers). State Farm has also previously paid

$30 million to former clients for “blacklisting” policyholders who worked with certain lawyers—

the majority of whom were Jewish—to a special fraud unit instead of paying their claims. Past

and current examples of discrimination by and at State Farm are troubling unto themselves; they

are especially troubling when considering that the algorithmic decision-making tools State Farm

uses in its claims process are likely trained on historical inputs that are themselves racially biased.

       D.      State Farm’s Policy of Delegating Initial Review of Claims to Its Algorithmic
               Decision-Making Tools Disproportionately Impacts Black Policyholders

       48.     On information and belief, State Farm’s algorithmic decision-making tools rely on

inputs that are highly predictive of or are direct proxies for race and/or are trained on historically

biased housing and claims data. These tools impact State Farm’s determinations of how much

scrutiny a claim deserves and, thereby, the workflow an assigned claims handler should follow in


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processing the claim. As a result, State Farm’s policy of delegating the initial claims processing

review to its algorithmic decision-making tools has subjected Black homeowners to longer wait

times during which they frequently are forced to endure substandard living situations for

unreasonably extended periods of time.       This, in turn, has resulted in embarrassment and

humiliation for Black homeowners—not to mention the extended devaluation of their homes. And

the additional labor that Black homeowners must expend to have their claims processed has

resulted in inconvenience and loss of time which could have otherwise been put to valuable use.

       49.     State Farm’s delegation of the initial claims processing review to its algorithmic

decision-making tools disproportionately and adversely affects Black homeowners relative to

white homeowners and causes Black policyholders to expend comparatively more effort over a

longer period than white policyholders to get their claims resolved.

       50.     The challenges presented by State Farm’s claims processing policy produce at least

two distinct harms.

       51.     First, Black policyholders have to endure substandard living conditions for longer

and suffer the humiliation and added expense of undue delay and administrative burden. Plaintiff

Jacqueline Huskey, for example, was forced to live with a defective roof and water damage to the

interior of her home as her exterior roof claim has languished with State Farm. She has spent hours

of her time diligently trying—yet inexplicably failing—to get her claim fully addressed. The same

is true of Plaintiff Riian Wynn, who, alongside her teenage daughter, endured months of water

leakage, and then many more months of unaddressed water damage to the interior of her home.

She too spent countless hours trying to persuade State Farm that her claim was legitimate.

       52.     Second, Black State Farm policyholders receive a less valuable insurance product

for the same price as white State Farm policyholders because it takes Black policyholders longer



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and more effort to obtain repayment. Put differently, had Plaintiffs and members of the proposed

class known that they would receive different and worse treatment by State Farm, they either would

not have purchased homeowners insurance from State Farm or would not have been willing to pay

as much as they did for their policies.

       53.     Considered from either vantage, the survey results discussed above substantiate the

disparate impact of State Farm’s discriminatory claims processing policy.

       54.     State Farm has no legitimate business need to use algorithmic decision-making

tools that rely upon data that include race and/or proxies for race and lead to discriminatory effects.

State Farm may attempt to assert in the course of litigation that it has a legitimate business need to

use these tools to efficiently assign claims and detect insurance fraud, but, on information and

belief, State Farm is delaying many more claims than it is denying—thus, slowing and

complicating legitimate claims brought by loyal policyholders like the named Plaintiffs. Any

efficiency or fraud detection goal thus does not justify the added burdens to which State Farm is

disproportionately subjecting Black policyholders.

       55.     Even so, State Farm could deploy alternative claims processing policies that would

eliminate or greatly reduce discriminatory impact. It would be straightforward and low cost for

State Farm to prevent its algorithms from creating the disparate impact they do. Testing for bias,

either by census tract or by inferred demographics, is a standard approach supported by regulators

and academic research. Assessing an algorithm’s output to examine whether it varies by race is

trivial. Had State Farm taken even basic measures to identify bias, simple changes could have

been implemented to remediate the bias. State Farm itself has acknowledged in its patent

applications that it is able to identify “undesired factors” to control for “undesired prejudice or




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discrimination,” by teaching its algorithmic decision-making tools not to consider those factors in

setting a premium amount.

         56.   Plaintiffs and the proposed Class continue to suffer harm because of State Farm’s

discriminatory policy, losing wealth from delayed payment, as well as from the additional time

and paperwork required from them to process their claims. Additionally, as claims of Black

homeowners drag on—with repairs not paid for nor completed in a timely fashion—the values of

Black homes disproportionately decrease relative to the values of white homes. Unaddressed

repairs can lead to other issues in the home: health and safety issues, citations for code violations,

and even condemnation of a property. Finally, as claim delays persist, Black homeowners may

arbitrarily and unreasonably be forced to live in substandard housing for extended periods of time.

Studies have shown that living in substandard housing can impact both physical and mental health

of homeowners and their families.

         57.   On information and belief, State Farm’s current policy of delegating the initial

review of homeowners insurance claims to its algorithmic decision-making tools has been in place

since at least 2018, if not before, and has existed on a continuous basis since then. This policy has

resulted in systemic and continuing racial discrimination in the processing of homeowners

insurance claims in every year since 2018.

IV.      CLASS ALLEGATIONS

         58.   Plaintiffs repeat and re-allege every allegation above as if set forth herein in full.

         59.   Plaintiffs sue on their own behalf under Rules 23(a), (b)(2), (b)(3), and (c)(4) of the

Federal Rules of Civil Procedure.

         60.   Plaintiffs seek to bring a class action pursuant to the FHA on behalf of themselves

and a class of similarly situated individuals defined as follows:



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       All Black individuals who maintained State Farm homeowners insurance policies at some
       time during the Class Period covering property in Illinois, Indiana, Michigan, Missouri,
       Ohio, and/or Wisconsin; who made a claim under such policy during the Class Period; and
       who were required to submit additional paperwork or information (beyond submission of
       the initial claim), had three or more interactions with State Farm claims handlers before
       claim resolution, and/or waited more than a month for claim resolution.
       For purposes of this Class Definition, the term “homeowners insurance policy” is defined
       to include insurance policies designed to cover losses and damages to a dwelling used
       principally as a private personal residence, and not solely for rental or other commercial
       purposes. Such properties include single-family detached houses; single-family attached
       houses; condominiums or cooperatives; mobile or manufactured homes; and any other type
       of dwelling that is covered by an HO-01, HO-02, HO-03, HO-05, HO-06, HO-07 or HO-
       08 homeowners insurance policy.
The start date for the “Class Period” will be defined through discovery, which will reveal when

State Farm began using its automated claims processing policy.

       61.       Upon information and belief, the Class contains tens of thousands of individuals.

State Farm is the largest issuer of homeowners insurance policies in North America, with

approximately 18% of market share, and is the biggest homeowners insurance provider in Illinois,

Indiana, Michigan, Missouri, and Ohio. It is the second biggest homeowners insurance provider

in Wisconsin. The Midwest has close to one million Black homeowners. About 93% of

homeowners have home insurance, and approximately 5% of policyholders submit a claim on their

policy each year. The 2021 YouGov survey discussed supra by itself identified 134 Black State

Farm respondents who would be members of the Class under the proposed definition above. On

information and belief, the proposed Class is so numerous that joinder of all members would be

impracticable.

       62.       All members of the proposed Class have been subject to, and affected by, State

Farm’s policy of delegating the initial review of homeowners claims to its algorithmic decision-

making tools. Questions of law and fact common to the proposed Class predominate over




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questions affecting only individual members. These questions include, but are not limited to, the

following:

       a.        Whether State Farm uses algorithmic decision-making tools to triage and process
                 homeowners insurance claims, and the nature, scope, and operation of those tools;

       b.        Whether State Farm’s algorithmic decision-making tools have caused racial
                 discrimination in violation of the FHA;

       c.        Whether there are statistically significant disparities between the processing time,
                 paperwork requests, and employee interactions for claims filed by Black and white
                 homeowners in the Midwest that are adverse to the Black homeowners;

       d.        Whether there is a legitimate business necessity for State Farm’s algorithmic
                 decision-making tools;

       e.        Whether substantially equally or more valid alternative means of claim processing
                 are available that would eliminate or reduce the discriminatory impact; and

       f.        Whether an order for declaratory and injunctive relief is appropriate.

       63.       The claims of the individual named Plaintiffs are typical of the claims of the

proposed Class and do not create any disabling conflicts with the interests of any other members

of the proposed Class.

       64.       The individual named Plaintiffs will fairly and adequately represent the interests of

the proposed Class. The Plaintiffs and the proposed Class are represented by attorneys who are

qualified to pursue this litigation and have experience in class actions.

       65.       A class action is superior to other methods for the efficient and fair adjudication of

this controversy. A class action regarding the issues in this case does not create any problems of

manageability.

       66.       In the alternative, State Farm has acted or refused to act on grounds generally

applicable to the proposed Class, making appropriate final injunctive relief or corresponding

declaratory relief with respect to the proposed Class as a whole.



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        67.     Finally, if the Court decides not to certify the Class under Rule 23(b)(2) or (3), class

certification is appropriate with respect to each of the common issues, including those identified

above and any other common issues that may be identified during the litigation, pursuant to Federal

Rule of Civil Procedure 23(c)(4).

V.      CAUSES OF ACTION

                                  COUNT ONE
          VIOLATION OF THE FAIR HOUSING ACT, 42 U.S.C. § 3604(a) & (b)
                     (Individually and on Behalf of the Class)

        68.     Plaintiffs, on behalf of themselves and the Class Members, repeat and reallege

every allegation of the preceding paragraphs as if fully set forth herein.

        69.     Pursuant to the FHA, “[i]t is the policy of the United States to provide, within

constitutional limitations, for fair housing throughout the United States.” 42 U.S.C. § 3601.

        70.     Pursuant to 42 U.S.C. § 3604(a), “[i]t shall be unlawful . . . [to] otherwise make

unavailable or deny, a dwelling to any person because of race, color, religion, sex, familial status,

or national origin.”

        71.     Pursuant to 42 U.S.C. § 3604(b), “[i]t shall be unlawful . . . [t]o discriminate against

any person in the terms, conditions, or privileges of sale or rental of a dwelling, or in the provision

of services or facilities in connection therewith, because of race, color, religion, sex, familial status,

or national origin.”

        72.     According to 24 C.F.R. § 100.70, promulgated by the U.S. Department of Housing

and Urban Development pursuant to 42 U.S.C. § 3604:

        (b) [i]t shall be unlawful . . . to engage in any conduct relating to the provision of housing
        or of services and facilities in connection therewith that otherwise makes unavailable or
        denies dwellings to persons.

        (d) Prohibited activities relating to dwellings under paragraph (b) of this section include,
        but are not limited to:

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        ...

        (4) Refusing to provide . . . property or hazard insurance for dwellings or providing such .
        . . insurance differently because of race . . . .

        73.    Homeowners insurance is a service rendered in connection with a sale of a

dwelling. State Farm provided homeowners insurance to the proposed Class representatives and

all proposed Class members, which they needed to maintain ownership of their home. State Farm’s

claims processing policy provides insurance coverage differently on the basis of race and has thus

resulted in discrimination with respect to the named Plaintiffs as well as all proposed Class

members. State Farm’s claims processing policy violates Section 3604 of the FHA and constitutes

actionable discrimination on the basis of race.

        74.    In addition to tangible financial harm due to State Farm’s delay in payments to

Black policyholders, the discriminatory effects of its claims processing policy has caused Plaintiffs

and the proposed Class significant frustration, inconvenience, and humiliation on account of their

race.

        75.    The proposed Class Representatives and the proposed Class are aggrieved as

defined in the FHA by virtue of having been subject to State Farm’s discriminatory claims

processing policy, which artificially, arbitrarily, and unnecessarily subjects the claims of Black

policyholders to greater scrutiny than those of White policyholders.

                                        COUNT TWO
                   VIOLATION OF THE FAIR HOUSING ACT, 42 U.S.C. § 3605
                           (Individually and on Behalf of the Class)

        76.    Plaintiffs, on behalf of themselves and the Class Members, repeat and reallege

every allegation of the preceding paragraphs.




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        77.     Pursuant to the FHA, “[i]t is the policy of the United States to provide, within

constitutional limitations, for fair housing throughout the United States.” 42 U.S.C. § 3601.

        78.     Pursuant to 42 U.S.C. § 3605, “[i]t shall be unlawful for any person or other entity

whose business includes engaging in residential real estate-related transactions to discriminate

against any person in making available such a transaction, or in the terms or conditions of such a

transactions, because of race . . . .”

        79.     “Residential real estate-related transaction” is defined to include “[t]he making or

purchasing of loans or providing other financial assistance . . . for . . . improving, repairing, or

maintaining a dwelling.” 42 U.S.C. § 3605(b)(1)(A).

        80.     Homeowners insurance companies operate to provide their policyholders the

financial assistance needed to improve, repair, and maintain their homes when property damage

and loss occurs. This financial assistance is facilitated by way of the insurance company’s claims

processing policy. The homeowners insurance claims process at State Farm thus constitutes the

sort of residential real estate-related transaction contemplated by Section 3605 of the FHA.

        81.     As set forth above, State Farm’s claim processing policy has a discriminatory

impact on Black policyholders, including on the named Plaintiff and all members of the proposed

Class. This claims processing policy artificially, arbitrarily, and unnecessarily subjects the claims

of Black homeowners to greater scrutiny than those of white homeowners, and thus result in greater

delays and inconvenience to Black homeowners.

        82.     The named Plaintiffs and the Class have been injured by State Farm’s

discriminatory conduct and have suffered damages as a result.




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VI.      JURY DEMAND

         83.    Plaintiffs, on behalf of themselves and the proposed Class, hereby request a trial by

jury.

VII.     PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully request the following relief:

         A.     Certify this case as a class action and certify the named Plaintiffs herein to be class
                representatives, and counsel to be class counsel;

         B.     Enter a judgment pursuant to 42 U.S.C. § 3613 declaring the acts and practices of
                State Farm complained of herein to be in violation of the FHA;

         C.     Grant a permanent or final injunction, pursuant to 42 U.S.C. § 3613 enjoining State
                Farm and State Farm’s agents and employees, affiliates and subsidiaries, from
                continuing to discriminate against Plaintiffs and the members of the Class because
                of their race through further use of their current claims processing policy;

         D.     Order State Farm, pursuant to 42 U.S.C. § 3613, to monitor and/or audit its
                algorithmic decision-making tools to ensure the cessation of discriminatory effects
                in claims processing;

         E.     Order actual damages to the Plaintiffs and the Class pursuant to 42 U.S.C. § 3613,
                as well as punitive damages, if appropriate;

         F.     Award Plaintiffs the costs of this action, including the fees and costs of experts,
                together with reasonable attorneys’ fees, pursuant to 42 U.S.C. § 3613; and

         G.     Grant the Plaintiffs and the Class such other and further relief as this Court finds
                necessary and proper.


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                                         Respectfully submitted,
                                         /s/ Aisha Rich

                                         FAIRMARK PARTNERS, LLP
                                         Aisha Rich (Pro Hac Vice)
                                         Alexander Rose (Pro Hac Vice)
                                         Jamie Crooks (Pro Hac Vice)
                                         1825 7th St NW, #821
                                         Washington, DC 20001
                                         Phone: (301) 458-0564
                                         aisha@fairmarklaw.com
                                         alexander@fairmarklaw.com
                                         jamie@fairmarklaw.com

                                         CENTER ON RACE, INEQUALITY,
                                         AND THE LAW AT NEW YORK
                                         UNIVERSITY SCHOOL OF LAW
                                         Deborah N. Archer (Pro Hac Vice)
                                         Jason D. Williamson (Pro Hac Vice)
                                         139 MacDougal Street
                                         New York, NY 10012
                                         Phone: (212) 998-6882
                                         deborah.archer@nyu.edu
                                         jason.williamson@nyu.edu

                                         Counsel for Plaintiff and the Proposed
                                         Class




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